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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Arguelles M.D., P.C. as Assignee of DARVELL TRIBE, Respondent, &nbsp;

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;Omni Indemnity Company, Appellant.&lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

 

&lt;p&gt;Appeal from an order of the Civil Court of the City of New York, Kings County (Devin P. Cohen, J.), entered June 26, 2013. The order denied defendant's motion for summary judgment dismissing the complaint.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is granted. &lt;/p&gt; 

&lt;p&gt;For the reasons stated in &lt;i&gt;Arguelles M.D., P.C. as Assignee of Marie Francoeur v Omni Indem. Co.&lt;/i&gt; (
 [appeal No. 2013-1541 Q C],&lt;/p&gt; 

&lt;br&gt;decided herewith), the order is reversed and defendant's motion for summary judgment dismissing the complaint is granted. 

&lt;p&gt;Pesce, P.J., Aliotta and Elliot, JJ., concur.&lt;/p&gt; 

&lt;br&gt;Decision Date: March 30, 2016 

 

 

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